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UNITED STATES BANKRUPTCY COURT
SOUTHERN D|STR|CT OF FLORIDA

IN RE: CASE: 18-15891-LM|

MAUR|CE SYMC)NETI`E ;
14100 NW 14“" AVE.
MlAM|, FL. 33167

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MOT|ON TO CHANGE CRED|TORS MEETING DATE

COMES NOW DE\?»TGR MAUR$CE SYMONETTE W\TH MOTlON TO REQUEST THE DATE ON MY CRED|TORS
MEETING WH|CH |S HELD ON 6/19/2018 BE ALLOWED TO BE HELD ON A D|FFERENT DAY PR}EFERABLY|
WOULD L|KE |F AT ALL POSS|BLE FOR \T TO BE ON THE SAME DATE AS MY EMERGENC¥ HEABING ON
6/22/2018 AT 9:AM BUT W|TH THE CRED|TORS MEET|NG ATA LATER T|ME ON THAT DAY |N THE
AFTERNOON |NS`\'EAD OF THE MORN|NG BECAUSE l WAS ALREADY SCHEDUELED TO GO OU OF TOWN
ON THAT DAY (6-19- 2018) l WOULD APPREC|ATE lT VERY MUCH, THANK YOU.

S\NCER\L¥, __ .- ;
Maurice Syrnonette §
14100 NW J.4T" AVE.

Miami F|. 33167
PH:786-859--9421
CASE: 18-15891LM|

 

 

